Defendant demurred to the complaint, and has attempted to appeal from the order overruling the demurrer.
[1, 2] SDC 33.0701 enumerates the orders which are appealable. An order which does not come within those enumerated is not reviewable. Moore v. Hahn, 65 S.D. 284, 273 N.W. 377. An order sustaining or overruling a demurrer was within those enumerated in Section 3168, Rev. Code 1919. This provision has been omitted from the South Dakota Code of 1939. The order in question is an "intermediate order" from which there can be no appeal as a matter of right. SDC 33.0701(6). Since the order is not reviewable as a matter of right and there has been no allowance *Page 436 
of an appeal by this court, the attempted appeal must be dismissed. It is so ordered.
SMITH, P.J., and ROBERTS and RUDOLPH, JJ., concur.
POLLEY and WARREN, JJ., not sitting.